                        Case 24-41552              Doc 9         Filed 07/15/24 Entered 07/15/24 07:36:35                            Desc Main
                                                                   Document     Page 1 of 12
 Fill in this information to identify your case:

  Debtor 1                  Michael                D.                 Fordinal
                           First Name              Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name       Last Name

  United States Bankruptcy Court for the:                        Eastern District of Texas

  Case number                       24-41552                                                                                         ❑ Check if this is an
  (if known)                                                                                                                             amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                           04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ✔ Married
    ❑
    ❑ Not married
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ❑ No
    ✔ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
    ❑
      Debtor 1:                                              Dates Debtor 1 lived    Debtor 2:                                             Dates Debtor 2 lived
                                                             there                                                                         there


                                                                                    ❑ Same as Debtor 1                                    ❑ Same as Debtor 1
     3401 Northwest Crossing                               From 08/2020                                                                   From
    Number       Street                                                               Number     Street
                                                           To     08/2022                                                                 To

     Justin, TX 76247
    City                            State ZIP Code                                    City                          State ZIP Code



                                                                                    ❑ Same as Debtor 1                                    ❑ Same as Debtor 1
                                                           From                                                                           From
    Number       Street                                                               Number     Street
                                                           To                                                                             To



    City                            State ZIP Code                                    City                          State ZIP Code




  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and
  territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ❑ No
    ✔ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).
    ❑

Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 1
                     Case 24-41552             Doc 9        Filed 07/15/24 Entered 07/15/24 07:36:35                            Desc Main
                                                              Document     Page 2 of 12
Debtor 1            Michael           D.                      Fordinal                                       Case number (if known) 24-41552
                    First Name        Middle Name             Last Name
 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                 Debtor 1                                               Debtor 2

                                                 Sources of income          Gross Income                Sources of income           Gross Income
                                                 Check all that apply.      (before deductions and      Check all that apply.       (before deductions and
                                                                            exclusions)                                             exclusions)

                                                ✔ Wages, commissions,
                                                ❑                                                      ❑ Wages, commissions,
    From January 1 of current year until the
                                                    bonuses, tips                          $0.00           bonuses, tips
    date you filed for bankruptcy:
                                                ✔ Operating a business
                                                ❑                                          $0.00       ❑ Operating a business

    For last calendar year:                     ✔ Wages, commissions,
                                                ❑                                                      ❑ Wages, commissions,
                                                    bonuses, tips                   $49,038.46             bonuses, tips
    (January 1 to December 31, 2023        )
                                   YYYY         ✔ Operating a business
                                                ❑                                  Debtor Will         ❑ Operating a business
                                                                                  Supplement

    For the calendar year before that:          ✔ Wages, commissions,
                                                ❑                                                      ❑ Wages, commissions,
                                                    bonuses, tips                  $112,430.15             bonuses, tips
    (January 1 to December 31, 2022        )
                                   YYYY         ✔ Operating a business
                                                ❑                                  $256,764.00         ❑ Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other
  public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are
  filing a joint case and you have income that you received together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                 Debtor 1                                               Debtor 2

                                                 Sources of income          Gross income from           Sources of income           Gross Income from
                                                 Describe below.            each source                 Describe below.             each source
                                                                            (before deductions and                                  (before deductions and
                                                                            exclusions)                                             exclusions)


    From January 1 of current year until the    Songwriting                              $775.10
    date you filed for bankruptcy:              Royalties
                                                                                       $4,000.00
                                                Sold Guitar
                                                                                       $1,000.00
                                                Online Sales


    For last calendar year:                     Songwriting                              $590.15
    (January 1 to December 31, 2023        )    Royalties
                                                                                       $1,560.18
                                   YYYY         Online Sales




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 2
                     Case 24-41552                   Doc 9      Filed 07/15/24 Entered 07/15/24 07:36:35                            Desc Main
                                                                  Document     Page 3 of 12
Debtor 1            Michael                 D.                     Fordinal                                       Case number (if known) 24-41552
                    First Name              Middle Name            Last Name


    For the calendar year before that:                Songwriting                            $1,184.60
    (January 1 to December 31, 2022              )    Royalties
                                                                                             $3,159.00
                                     YYYY             Interest Income
                                                                                                $10.00
                                                      Dividends
                                                                                           $41,900.00
                                                      Gambling
                                                      Winnings



 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ✔ No.
    ❑         Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
              an individual primarily for a personal, family, or household purpose.”
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

              ❑ No. Go to line 7.
              ✔ Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
              ❑
                           paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                           not include payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.


    ❑ Yes.    Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              ❑ No. Go to line 7.
              ❑ Yes.       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                           include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                           an attorney for this bankruptcy case.

                                                              Dates of           Total amount paid         Amount you still owe     Was this payment for…
                                                              payment

             Laurel Point                                     Over the last              $12,000.00                               ❑ Mortgage
             Creditor's Name                                  90 days                                                             ❑ Car
             Number      Street
                                                                                                                                  ❑ Credit card
                                                                                                                                  ❑ Loan repayment
             City                   State        ZIP Code
                                                                                                                                  ❑ Suppliers or vendors
                                                                                                                                  ✔ Other Rent
                                                                                                                                  ❑

             Internal Revenue Service                         06/06/2024                 $22,177.00                               ❑ Mortgage
             Creditor's Name
                                                                                                                                  ❑ Car
                                                              06/10/2024
                                                                                                                                  ❑ Credit card
             PO Box 7346
             Number      Street
                                                                                                                                  ❑ Loan repayment
             Philadelphia, PA 19101-7346
             City                   State        ZIP Code                                                                         ❑ Suppliers or vendors
                                                                                                                                  ✔ Other Taxes
                                                                                                                                  ❑


  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which
  you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you
  operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ❑ No
    ✔ Yes. List all payments to an insider.
    ❑
Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 3
                      Case 24-41552                    Doc 9       Filed 07/15/24 Entered 07/15/24 07:36:35                                 Desc Main
                                                                     Document     Page 4 of 12
Debtor 1             Michael                 D.                       Fordinal                                         Case number (if known) 24-41552
                     First Name              Middle Name              Last Name

                                                              Dates of            Total amount paid     Amount you still           Reason for this payment
                                                              payment                                   owe

                                                                                                                                   Repayment of debts to parents
    Michael and Lisa Fordinal                                08/31/2023             $10,000.00            $600,000.00
    Insider's Name
    2950 Springer Road
    Number       Street

    Midlothian, TX 76065
    City                          State     ZIP Code




  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑ Yes. List all payments that benefited an insider.

 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and
  contract disputes.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                         Nature of the case                       Court or agency                                Status of the case

    Case title        Itria Ventures LLC v.                                                      Supreme Court of the State of                  ❑ Pending
                      Franklin Media LLC
                      and Michael David
                                                                                                 New York, County of Kings
                                                                                                 Court Name
                                                                                                                                                ❑ On appeal
                      Fordinal                                                                                                                  ✔ Concluded
                                                                                                                                                ❑
    Case number 501853/2024                                                                      Number       Street


                                                                                                 City                      State     ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ❑ No. Go to line 11.
    ✔ Yes. Fill in the information below.
    ❑
                                                                         Describe the property                                 Date               Value of the property
                                                                      Garnished Bank account
    Gene Rosen Legal                                                                                                           04/25/2024                       $1.00
    Creditor’s Name



    Number       Street                                                  Explain what happened

                                                                      ❑ Property was repossessed.
                                                                      ❑ Property was foreclosed.
                                                                      ✔ Property was garnished.
                                                                      ❑
    City                            State     ZIP Code                ❑ Property was attached, seized, or levied.

Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 4
                     Case 24-41552               Doc 9          Filed 07/15/24 Entered 07/15/24 07:36:35                        Desc Main
                                                                  Document     Page 5 of 12
Debtor 1            Michael              D.                      Fordinal                                      Case number (if known) 24-41552
                    First Name           Middle Name             Last Name



  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or
  refuse to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.

  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-
  appointed receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑ Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift.

  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift or contribution.

 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
  gambling?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.

 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted
  about seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 5
                     Case 24-41552            Doc 9       Filed 07/15/24 Entered 07/15/24 07:36:35                             Desc Main
                                                            Document     Page 6 of 12
Debtor 1            Michael             D.                   Fordinal                                       Case number (if known) 24-41552
                    First Name          Middle Name          Last Name

                                              Description and value of any property transferred            Date payment or        Amount of payment
    Quilling, Selander, Lownds,                                                                            transfer was made
    Winslett & Moser, P.C.
    Person Who Was Paid                                                                                    01/28/2024                      $4,000.00
    2001 Bryan Street 1800
    Number     Street




    Dallas, TX 75201
    City                   State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You
                                              Description and value of any property transferred            Date payment or        Amount of payment
    Cricket Debt Counseling                                                                                transfer was made
    Person Who Was Paid
                                                                                                           05/24/2024                          $24.00
    Number     Street




    City                   State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You



  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to
  help you deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.

  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6
                     Case 24-41552            Doc 9         Filed 07/15/24 Entered 07/15/24 07:36:35                         Desc Main
                                                              Document     Page 7 of 12
Debtor 1            Michael             D.                   Fordinal                                       Case number (if known) 24-41552
                    First Name          Middle Name          Last Name

                                               Description and value of property        Describe any property or payments          Date transfer was
                                               transferred                              received or debts paid in exchange         made
    Third-Parties                             Sold household goods through             Received $1,000.00
    Person Who Received Transfer              Facebook Marketplace and Craigslist                                                 01/2024


    Number    Street



    City                   State   ZIP Code


    Person's relationship to you



                                              Sports card sales                        Received $1,560.18
    COMC.com                                                                                                                      12/08/2023
    Person Who Received Transfer



    Number    Street



    City                   State   ZIP Code


    Person's relationship to you



                                              Sold guitar                              $4,000.00
    Charlie's Guitar                                                                                                              01/31/2024
    Person Who Received Transfer



    Number    Street



    City                   State   ZIP Code


    Person's relationship to you



                                              Debtor day traded through his
                                              brokerage accounts                                                                  09/2022 -
    Person Who Received Transfer                                                                                                  07/2023

    Number    Street



    City                   State   ZIP Code


    Person's relationship to you




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 7
                     Case 24-41552             Doc 9       Filed 07/15/24 Entered 07/15/24 07:36:35                            Desc Main
                                                             Document     Page 8 of 12
Debtor 1            Michael              D.                   Fordinal                                       Case number (if known) 24-41552
                    First Name           Middle Name          Last Name

                                                Description and value of property        Describe any property or payments               Date transfer was
                                                transferred                              received or debts paid in exchange              made
                                               Traded in 2019 Honda Odyssey             Received $29,400.00 from trade in, paid off
    CarMax                                     towards 2020 Ford Expedition Max         note and difference went towards the new 06/2024
    Person Who Received Transfer                                                        vehicle purchase


    Number      Street



    City                   State    ZIP Code


    Person's relationship to you




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?
  (These are often called asset-protection devices.)

    ✔ No
    ❑
    ❑ Yes. Fill in the details.

 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved,
  or transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
  funds, cooperatives, associations, and other financial institutions.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Last 4 digits of account number       Type of account or       Date account was           Last balance
                                                                                      instrument               closed, sold, moved, or    before closing or
                                                                                                               transferred                transfer
    Wells Fargo Bank
                                                                                                                12/27/2023
    Name of Financial Institution               XXXX– 6       8    3      1         ✔ Checking
                                                                                    ❑
                                                                                    ❑ Savings
    Number      Street                                                              ❑ Money market
                                                                                    ❑ Brokerage
                                                                                    ❑ Other
    City                   State    ZIP Code

    Wells Fargo Bank
                                                                                                                04/26/2024
    Name of Financial Institution               XXXX– 6       8    3      0         ✔ Checking
                                                                                    ❑
                                                                                    ❑ Savings
    Number      Street                                                              ❑ Money market
                                                                                    ❑ Brokerage
                                                                                    ❑ Other
    City                   State    ZIP Code




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 8
                     Case 24-41552              Doc 9      Filed 07/15/24 Entered 07/15/24 07:36:35                            Desc Main
                                                             Document     Page 9 of 12
Debtor 1            Michael              D.                   Fordinal                                       Case number (if known) 24-41552
                    First Name           Middle Name          Last Name

                                                Last 4 digits of account number       Type of account or       Date account was          Last balance
                                                                                      instrument               closed, sold, moved, or   before closing or
                                                                                                               transferred               transfer
    Wells Fargo Bank
                                                                                                                10/25/2023
    Name of Financial Institution               XXXX– 2       8    4      5          ❑ Checking
                                                                                     ✔ Savings
                                                                                     ❑
    Number      Street                                                               ❑ Money market
                                                                                     ❑ Brokerage
                                                                                     ❑ Other
    City                   State    ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.

  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                 Who else has or had access to it?           Describe the contents                        Do you still have
                                                                                                                                          it?

    Sunbelt Self Storage
                                                                                            Holiday decorations, furniture, and
                                                                                            clothing
                                                                                                                                         ✔ No
                                                                                                                                         ❑
    Name of Storage Facility                    Name
                                                                                                                                         ❑ Yes
    1690 FM 407
    Number      Street                          Number    Street



                                                City                   State   ZIP Code
    Northlake, TX 76247
    City                    State    ZIP Code

                                                                                            Holiday decorations and household
    Sunbelt Self Storage                                                                    goods                             ❑ No
    Name of Storage Facility                    Name                                                                                     ✔ Yes
                                                                                                                                         ❑
    1690 FM 407
    Number      Street                          Number    Street



                                                City                   State   ZIP Code
    Northlake, TX 76247
    City                    State    ZIP Code




 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.

Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 9
                      Case 24-41552               Doc 9        Filed 07/15/24 Entered 07/15/24 07:36:35                                Desc Main
                                                                Document     Page 10 of 12
Debtor 1            Michael               D.                      Fordinal                                           Case number (if known) 24-41552
                    First Name            Middle Name             Last Name
 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic
      substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the
      cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate,
      or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material,
      pollutant, contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.

  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.

  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.

 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ✔ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ❑
           ✔ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑
           ❑ A partner in a partnership
           ✔ An officer, director, or managing executive of a corporation
           ❑
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ❑ No. None of the above applies. Go to Part 12.
    ✔ Yes. Check all that apply above and fill in the details below for each business.
    ❑
                                                    Describe the nature of the business                      Employer Identification number
    Franklin Media LLC                                                                                       Do not include Social Security number or ITIN.
    Name
                                                   Book Sales (not operating)
                                                                                                              EIN:   4     6 – 4   5   2   6   0   8   9


                                                    Name of accountant or bookkeeper                         Dates business existed
    Number        Street                           Hawk Tax Solutions
                                                                                                              From 11/2013         To Present


    City                    State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 10
                     Case 24-41552            Doc 9       Filed 07/15/24 Entered 07/15/24 07:36:35                            Desc Main
                                                           Document     Page 11 of 12
Debtor 1            Michael             D.                      Fordinal                                     Case number (if known) 24-41552
                    First Name          Middle Name             Last Name

                                                Describe the nature of the business                  Employer Identification number
     Michael Fordinal                                                                                Do not include Social Security number or ITIN.
    Name
                                               Songwriter (not operating, but royalties still
                                               come in every so often)                                EIN:             –


                                                Name of accountant or bookkeeper                     Dates business existed
    Number     Street
                                                                                                      From Unknown         To Present


    City                   State   ZIP Code

                                                Describe the nature of the business                  Employer Identification number
     Michael Fordinal                                                                                Do not include Social Security number or ITIN.
    Name
                                               Day Trading
                                                                                                      EIN:             –


                                                Name of accountant or bookkeeper                     Dates business existed
    Number     Street
                                                                                                      From 09/2022         To 07/2023


    City                   State   ZIP Code

                                                Describe the nature of the business                  Employer Identification number
     Textbooks Plus, LLC                                                                             Do not include Social Security number or ITIN.
    Name
                                               Debtor is President, but he is not an
                                               employee, nor does he have an ownership                EIN:             –
                                               interest in this entity
                                                Name of accountant or bookkeeper                     Dates business existed
    Number     Street
                                                                                                      From 11/2023         To Present


    City                   State   ZIP Code



  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions,
  creditors, or other parties.

    ❑ No
    ✔ Yes. Fill in the details below.
    ❑
                                                Date issued


     Debtor may have given financial
     statements for his business to            MM / DD / YYYY
     business creditors
    Name



    Number     Street




    City                   State   ZIP Code




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 11
                    Case 24-41552            Doc 9       Filed 07/15/24 Entered 07/15/24 07:36:35                            Desc Main
                                                          Document     Page 12 of 12
 Debtor 1           Michael             D.                    Fordinal                                      Case number (if known) 24-41552
                    First Name          Middle Name            Last Name




 Part 12: Sign Below


  I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true
  and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
  bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




    ✘ /s/ Michael D. Fordinal
        Signature of Michael D. Fordinal, Debtor 1


        Date 07/15/2024




  Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ✔ No
    ❑
    ❑ Yes

  Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
                                                                                                  Attach the Bankruptcy Petition Preparer’s Notice,
    ❑ Yes. Name of person                                                                         Declaration, and Signature (Official Form 119).




Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 12
